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14
                                 UNITED STATES DISTRICT COURT
15
16                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17
     JAMES MILLER, et al.,                              Case No. 3:19-cv-01537-BEN-JLB
18
                           Plaintiffs,                  Hon. Roger T. Benitez
19                                                      Magistrate Hon. Jill L. Burkhardt
20        vs.                                           DECLARATION OF PLAINTIFF
21                                                      JAMES MILLER IN SUPPORT OF
   XAVIER BECERRA, in his official                      PLAINTIFFS’ MOTION FOR
22 capacity as Attorney General of
                                                        PRELIMINARY INJUNCTION
23 California, et al.,
24                                                      Complaint filed:August 15, 2019
                           Defendants.                  Amended Complaint filed:
25                                                      September 27, 2019
26
                                                        Hearing Date: January 16, 2020 Time:
27
                                                        10:00 a.m.
28                                                      Courtroom: 5A, 5th Floor


                DECLARATION OF PLAINTIFF JAMES MILLER IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                                 (CASE NO. 3:19-CV-01537-BEN-JLB)
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 1                            DECLARATION OF JAMES MILLER
 2 I, James Miller, declare as follows:
 3      1.   I am an adult resident of the County of San Diego, California, and am a named
 4 plaintiff in the above matter. I have personal knowledge of the facts stated herein, and
 5
   if called as a witness, I could competently testify to these facts.
 6
       2. This declaration is executed in support of plaintiffs’ motion for a preliminary
 7
   injunction.
 8
 9     3. I am not prohibited from owning firearms under federal or state law. For many

10 years, in fact, I have held a license to carry a concealed weapon (CCW), issued by my
11 local county sheriff, that requires a background check and good moral character. Under
12 state law, this CCW must be renewed every two years.
13      4.   I am the lawful owner of a semi-automatic, centerfire rifle that is specifically
14
     described as an AR-15 pattern rifle, which has one or more of the characteristics listed
15
     in Penal Code § 30515(a)(1), to wit: a pistol grip (§ 30515(a)(1)(A)), a telescoping
16
     stock (§ 30515(a)(1)(C)), and a flash suppressor (§ 30515(a)(1)(E)). However, this rifle
17
     is not considered to be an “assault weapon” under section 30515(a)(1) because it has a
18
19 “fixed magazine,” that is, it contains an ammunition feeding device that cannot be
20 removed from the firearm without disassembly of the firearm action.” See, Pen. Code
21 § 30515(b) and 11 CCR § 5471(m).
22      5.   I rendered this firearm with a fixed magazine in order to preserve the other
23 salient features listed above, without having to destroy, deface or otherwise alter these
24
   characteristics of the firearm, and to avoid having to register the firearm as an “assault
25
   weapon” pursuant to Pen. Code § 30900(b). If registered as an “assault weapon,” I
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   would be effectively prohibited from transferring or passing along the firearm to my
27
28 heirs, or selling it to anyone else.

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               DECLARATION OF PLAINTIFF JAMES MILLER IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                                (CASE NO. 3:19-CV-01537-BEN-JLB)
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 1      6.   I am also in lawful possession of a so-called “large capacity magazine” (as that
 2 term is defined in Pen. Code § 16740) that would be used in this firearm.
 3      7.   The only thing that prevents me from inserting or using the large capacity
 4
     magazine, which would then allow it to be in ordinary configuration as an ordinary
 5
     AR-15 rifle with a standard, 30-round magazine (“Standard Capacity Magazine”), is by
 6
     operation of Pen. Code § 30515(a)(2), which further defines as an assault weapon “[a]
 7
     semiautomatic, centerfire rifle that has a fixed magazine with the capacity to accept
 8
 9 more than 10 rounds.” However, it is my understanding that this Court has already
10 found that the state’s prohibition on large-capacity magazines was unconstitutional, and
11 enjoined enforcement of those provisions of the Penal Code that would have prohibited
12 their possession. It would be my understanding that along with the right to possess
13 large-capacity magazines, for the reasons expressed in this Court’s judgment, would be
14
     the right to use such magazines in an otherwise legally-owned firearm.
15
        8.   I wish to continue to possess my firearm, together with a Standard Capacity
16
     Magazine inserted therein, without being subject to arrest and/or prosecution under Pen.
17
18 Code §§ 30600 (for manufacturing, transporting, or transferring an “assault weapon”),
19 or 30605 (for possessing an “assault weapon”).
20      9.   It is also my desire to obtain and acquire additional AR-15 pattern firearms that
21 either have some or all of the features listed in Pen. Code § 30515(a)(1) and which do
22 not have a fixed magazine, or to obtain and acquire a semiautomatic, centerfire rifle that
23
     has a fixed magazine with the capacity to accept more than 10 rounds.
24
        10. Accordingly, and for these reasons, I respectfully ask that the Court grant
25
     preliminary injunctive relief, enjoining enforcement or application of Penal Code §§
26
27 30515(a) and (b), 30600, 30605, 30800, 30910, 30915, 30945, 30950, 31000, and
28 31005, as well as Title 11, California Code of Regulations §§ 5460 and 5471, to the

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               DECLARATION OF PLAINTIFF JAMES MILLER IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                                (CASE NO. 3:19-CV-01537-BEN-JLB)
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      1 extent that the definition of"assau lt weapon " is based up on the charact eristics of Pen.
      2 Code§ 30515(a )(l) and (2), against Plaintiffs on an as-appl ied basis , and against all
   3      similarly situated persons.
   4
      5
             I declare under penalty ofperjury that the foregoing is true and correct. Executed on
   6
          December 5, 2019 .
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                  DECLARA TION OF PLAINTIFF J AMESM ILLER IN S UPPORT OF PLAINTIFFS ' MOTION FOR PRELlMINAR
                                                                                                           Y INJUNCTION
                                                                                     (CASE NO. 3:19-CV-01 53 7-BEN-JLB)
